UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x
KELLY ANDRADE, :
Plaintiff,
v. : - COURT EXHIBIT 3A
VERDICT SHEET
21-CV-5237 (WFK) (SJB)
MICHAEL ESPOSITO and
DANIELLE ESPOSITO,
Defendants. . :
xX

Nothing in the Verdict Sheet is meant to suggest what your verdict should be. You alone have
the responsibility to decide the verdict. Please answer each question in the order given.

I, Compensatory Damages

Did Plaintiff prove, by a preponderance of the evidence, that she is entitled to
compensatory damages from Defendants Michael and Danielle Esposito?

1. Circle: (xEs) NO )

2. Ifyou answered NO, move on to Section II.

3. If you answered YES, do you find that liability for damages should be jointly
assigned to Defendants Michael and Danielle Esposito?

Circle: ( YES ) NO )

a. If you answered YES to question 3, in what amount do you find the
Defendants liable? $ 7 SO > 000.60

b. If you answered NO to question 3, in what amount do you find
Defendant Michael Esposito liable?

$

c. If you answered NO to question 3, in what amount do you find
Defendant Danielle Esposito liable?

$

II. Punitive Damages

1. New York Tort Law: Intentional Infliction of Emotional Distress

i. Pursuant to New York Tort Law, do you award punitive damages against
Defendant Michael Esposito?

1. Circle: (Ces) NO )
2. Ifyou answered NO, do not answer the following question.

3. If you answered YES, in what amount do you assign punitive
damages against Defendant Michael Esposito:

$ 500,000.50
2. New York State Human Rights Law

i. Pursuant to the New York State Human Rights Law, do you award punitive
damages against Defendant Michael Esposito?

1. Circle: CvES NO )
2. Ifyou answered NO, do not answer the following question.

3. If you answered YES, in what amount do you assign punitive
damages against Defendant Michael Esposito:

$750,600.00

ii. Pursuant to the New York State Human Rights Law, do you award punitive
damages against Defendant Danielle Esposito?

I. Circle: ( YES /(NO'D

2. Ifyou answered NO, do not answer the following question.

3. If you answered YES, in what amount do you assign punitive
damages against Defendant Danielle Esposito:

$
3. New York City Human Rights Law

i. Pursuant to the New York City Human Rights Law, do you award punitive
damages against Defendant Michael Esposito?
Case 1:21-cv-05237-WFK-SJB Document 126 Filed 09/12/24 Page 3 of 3 PagelD #: 4735

1. Circle: Ces) NO )

2. Ifyou answered NO, do not answer the following question.

3. If you answered YES, in what amount do you assign punitive
damages against Defendant Michael Esposito:

$ 750, 000.50—

ii. Pursuant to the New York City Human Rights Law, do you award punitive
damages against Defendant Danielle Esposito?

1. Circle: ( YES (oy
2. Ifyou answered NO, do not answer the following question.

3. If you answered YES, in what amount do you assign punitive
damages against Defendant Danielle Esposito:

$

The Jury Foreperson should date and sign this Special Verdict Sheet

Dated: September 72, 2024 Signed:
Jury Foreperson
